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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 08-MD-01916-MARRA/MATTHEWMAN

    IN RE: CHIQUITA BRANDS INTERNATIONAL, INC.
    ALIEN TORT STATUTE AND SHAREHOLDER
    DERIVATIVE LITIGATION

    _____________________________________________/

    This Document Relates to:

    ATS ACTIONS:

    08-80465-CIV-MARRA (Does 1-144/Perez 1-795 Action) (Does 1-144 only)
    10-80652-CIV-MARRA (Does 1-976 Action)
    11-80404-CIV-MARRA (Does 1-677 Action)
    11-80405-CIV-MARRA (Does 1-254 Action)
    17-80475-CIV-MARRA (Does 1-2146 Action)
    18-61385-CIV-MARRA (Does 1-144/Perez 1-795 Action) (Does 1-144 only)
    18-80800-CIV-MARRA (Does 1-144/Perez 1-795 Action) (Does 1-144 only)
    _____________________________________________/

                              ORDER GRANTING
           JOINT MOTION OF WOLF PLAINTIFFS AND DEFENDANT CHIQUITA
                  FOR THE COURT TO ISSUE A SHOW CAUSE ORDER

           This matter is before the Court upon the Joint Motion of Wolf Plaintiffs and Defendant

    Chiquita For the Court to Issue a Show Cause Order. The Court having reviewed the Joint Motion

    and being sufficiently advised, hereby FINDS that good cause exists for the Court to approve the

    proposed settlement between the Wolf Plaintiffs and Defendant Chiquita submitted at [DE 3833-

    1], and therefore GRANTS the Joint Motion.

           IT IS THEREFORE ORDERED AND ADJUDGED each Wolf Plaintiff (that is, a

    Plaintiff represented by Attorney Paul Wolf) in the above-captioned actions shall contact Attorney

    Paul Wolf, P.O. Box 60584, Colorado Springs, CO 80960, telephone: (202) 431-6986, email:

    paulwolf@yahoo.com or at his office to be re-established in Apartadó within 18 months of entry

    of this Order. In such contact, each Wolf Plaintiff shall either participate in the settlement pursuant
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    to the Settlement Agreement attached hereto or state that that Wolf Plaintiff will continue litigating

    in the relevant action captioned above. Each Wolf Plaintiff must contact Mr. Wolf or show cause

    within 18 months after the order is entered why his or her claim should not be dismissed with

    prejudice for failure to prosecute.

           WARNING: The Wolf Plaintiffs are expressly notified that the failure to respond timely

    to this Order will result in the entry of sanctions against them, including a final dismissal with

    prejudice of all claims without further notice from the Court. The general public and Wolf

    Plaintiffs are also expressly notified that: (a) the settlement relates only to persons represented by

    Attorney Paul Wolf; (b) the attached Settlement Agreement is binding only on claimants

    represented by Paul Wolf who elect to participate in the settlement; (c) Wolf Plaintiffs may elect

    not to participate in the settlement and continue to litigate; (d) Mr. Wolf will remain counsel for

    any Wolf Plaintiff who elects not to participate in the settlement; and (e) persons not represented

    by Attorney Paul Wolf who have claims pending against Chiquita should contact their own

    attorneys with any questions they may have about the status of their claims. If any Plaintiff or

    Claimant in this Multi-District Litigation who is not represented by Attorney Paul Wolf makes

    contact with Attorney Wolf relative to the settlement or otherwise, Attorney Wolf shall advise

    those individuals that he cannot discuss the settlement or any other matters relating to the pending

    litigation with them, and that they should contact and consult with their own counsel. Mr. Wolf

    shall not be required to provide such individuals with the contact information for their counsel,

    information which they should already have.

           The Wolf Plaintiffs and Chiquita acknowledge and agree to the Court’s instructions at the

    status conference that the Third-Party Administrator hold in escrow the last payment of 25% of

    attorneys’ fees to satisfy the amount of any charging lien the Court finds to be valid.



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               Mr. Wolf shall make reasonable efforts to contact his clients, the Wolf Plaintiffs, over the

    next 18 months, including publishing a notice of this Order and its contents on his Facebook client

    group page, and with announcements on Colombian radio and Colombian television in Urabá. Mr.

    Wolf shall further attempt to contact all of his clients using the last known address, email address

    and phone number according to his records. Mr. Wolf shall take further steps, as he is able, to

    enlist the support of Colombian government agencies to search their databases for lost Plaintiffs,

    or physically search for them in their neighborhoods. Mr. Wolf shall send a copy of this entered

    Order to the last known address of each Wolf Plaintiff who cannot otherwise be located. Mr. Wolf

    shall file with the Court a final itemization within thirty days after the expiration of 18 months

    from the entry of this Order of each Wolf Plaintiff who has failed to contact him as required by

    this Order, and the steps taken to try to contact each such Wolf Plaintiff, at which time the Court

    will dismiss with prejudice all such Wolf Plaintiffs for failure to prosecute.


               This Order shall not impact or affect the jury verdict found at DE 3811.

               The Court’s approval of the Settlement Agreement shall not be construed as an
    endorsement or approval by the Court of the assertions stated in ¶ (D) of the Agreement. [DE 3833-
    1 at 2].

               SO ORDERED in chambers on June 27, 2024.




                                                                    KENNETH A. MARRA
                                                                    United States District Judge




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                                     SETTLEMENT AGREEMENT                                         MLa-
             chiquita Brands International, Inc. including its predecessors, its past and present             (I'
     subsidiaries and its past and present directors, officers employees, agents, and contractors               ·
     (collectively, "Chiquita"), on the one hand, and the Wolf Plaintiffs (defined below), on the other
     hand (together, the "Parties") have agreed to resolve all claims that Wolf Plaintiffs did assert or
     could have asserted in the Actions (defined below) and agree that this settlement agreement
     ("Agreement") is binding on all of the Parties and contains all the material terms of their
     settlement.
                                                RECITALS

            (A) "Wolf Plaintiff' and " Wolf Plaintiffs'' are each and all, respectively, of the plaintiffs
               for the total 2,572 decedents set forth in the following five actions ("the Actions") filed
               by attorney Paul David Wolf which have been consolidated for pretrial purposes into
               the multidistrict litigation captioned In re: Chiquita Brands International, Inc. Alien
                Tort Statute and Shareholder Derivative Litigation, United States District Court for the
               Southern District of Florida, No. 08-01916-md-MARRA ("MDL 1916"):

                           (1) Does 1-144 v. Chiquita Brands International, Inc. and David Does,
                               United States District Court for the District of Colombia No. 1:07-cv-
                               0 1048, upon transfer, United States District Court for the Southern
                               District of Florida Nos. 0:08-cv-80465-KAM and 0: l 8-cv-61385 (Does
                               1-144 only per S.D. Fla. No. 08-1916, DE 2658);

                           (2) Does 1-976 v. Chiquita Brands International, Inc., Doe Corporations
                               1-10, and Does 11-25, United States District Court for the District of
                               Colombia No. l: 10-cv-00404, upon transfer, United States District
                               Court for the Southern District of Florida No. 9: 10-cv-80652-KAM;

                           (3) Does 1-677 v. Chiquita Brands International, Inc., Doe Corporations
                               1-10, and Does 11-25, United States District Court for the District of
                               Colombia No. 1: 11-cv-00582, upon transfer, United States District
                               Court for the Southern District of Florida No. 9: 11-cv-80404-KAM;

                           (4) Does 1-254 v. Chiquita Brands International, Inc., Does Corporations
                               1-10, and Does ll-25, United States District Court for the District of
                               Colombia No. I: 11-cv-00583, upon transfer, United States District
                               Court for the Southern District of Florida No. I: I l-cv-80405-KAM; and

                           (5) Does 1-2146 v. Cyrus Freidheim, Robert Olson, Robert Kistinger,
                               Steven Kreps, Joel Raymer, and John Ordman, United States District
                               Court for the Southern District of Ohio No. 1: 17-cv-00 145-TSB, upon
                               transfer, United States District Court for the Southern District of Florida
                               No. 9:17-cv-80475-KAM.


                                                                                                             EXHIBIT 1
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     Each of the five operative filed complaints in the Action with the true name of each W~
     was filed as DE 3110-1, DE 3110-2, DE 3110-3, DE 3110-4, and DE 3827-1. Thes:!~ ~
     documents are incorporated herein by reference and constitute the universe of Wolf Plaintiffs.

            (8) Chiquita has defended itself in the Actions where it is a defendant and is indemnifying
                (or had indemnified) former Chiquita employees Fernando Aguirre, Cyrus Freidheim,
                the Estate of Roderick M. Hills, Sr., Charles Keiser, Robert Kistinger, Steven Kreps,
                Robert Olson, Joel Raymer, William A. Tsacalis, and Steven Warshaw i_n the Actions
                where they are defendants and have good defenses to liability.

            (C) The Wolf Plaintiffs desire to settle with finality their claims asserted in the Actions for
                the consideration described herein now to avoid years of continued Iitigation at great
                expense and uncertain result.

            (D) The Parties engaged in a mediation in July 2023 with periodic settlement negotiations
               thereafter, and then extensive settlement negotiations since April 22, 2024. The parties
               are aware of the jury verdict entered on June 10, 2024 in the MDL trial that did not
                involve any Wolf Plaintiff. The Wolf Plaintiffs believe, however, that the jury verdict
               will likely be reversed and vacated for a number of reasons, or at a minimum
               substantially reduced, including for, but not limited to, the following reasons: (i) the
               Court improperly consolidated and subsequently tried nine disparate claims including
               ones before and after the designation of the AUC as an FTO, and ones with and without
               Justice & Peace attribution to the AUC, all of which confused and mislead the jury and
               prejudiced Chiquita; (ii) the Court improperly charged the jury on Colombian statutory
               hazardous activity liability after the Court had previously dismissed all claims except
               for negligence-based liability and despite the fact that the Court-not the jury-should
               have been who determined whether Chiquita's activity were hazardous; (iii) the Court
               gave incorrect instructions as a matter of law on the fault element of Plaintiffs' Article
               2341 claim, including directing the jury to find Chiquita at fault for vioiations of law
               for which Chiquita cannot be criminally liable as a matter of Colombian law or which
               were irrelevant to the reasonable businessperson standard under Colombian law; (iv)
               the Court refused to instruct the jury on causation under Colombian law and instead
               applied federal common law to the causation element, which was outcome
               determinative in light of the evidence admitted at trial; (v) alternatively, even if federal
               common law were to apply, the Court failed to give a legally correct instruction on
               knowing substantial assistance, ignoring both United States Supreme Court precedent
               and Eleventh Circuit precedent on knowing substantial assistance and secondary
                liability; (vi) alternatively, the Court improperly failed to follow Florida forum law on
               causation and secondary liability; (vii) the Court improperly charged the jury on
               damages; and (viii) the Court will, at a minimum, need to reduce damages pursuant to
               Colombian law caps on damages that are required by the Colombian Supreme Court.

            (E) The Parties' intent and agreement is to compromise and settle every claim by each of
                the Wolf Plaintiffs that was-or could have been-brought in the Actions against
                Chiquita including its former directors, officers, and employees. The Parties' intent
                and agreement is also to settle every Wolf Plaintiffs claims in each of the Actions on
                a per-decedent, not per-claim, basis. The settlement is intended to pay out a fixed sum

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                per decedent to be divided by family members of the decedent who are W o ~Y                 ,
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                provided that the Claimant files the paperwork mentioned herein no later than 18
                months from the date of a final Settlement Agreement.

            (F) The Parties shall promote this Agreement as an example of how adverse parties by
                settling and compromising their positions in good faith can help Colombia further heal
                after decades of horrendous violence.

            (G) The Parties agree that murders by the AUC occurring during the time period of the
                payments listed in the Factual Proffer, from 1997 to February, 2004 are easier for the
                Wolf Plaintiffs to prove than the other claims and, therefore, have a higher settlement
                value. Therefore, only the Claimant for an individual murdered by the AUC during
                this time period with supporting documentation will be compensated at the Tier 1 level
                as further defined in Section 3 below.

             NOW, THEREFORE, in consideration of the foregoing recitals, the promises, covenants
     and agreements herein, and the other good and valuable consideration set forth herein, the fairness,
     sufficiency and adequacy of which is hereby acknowledged, and intending to be legally bound, the
     Parties mutually agree as follows:

        1. COOPERATION OF THE PARTIES

             The Parties and their counsel agree to cooperate fully with each other to promptly execute
     all documents and take all steps necessary to effectuate the terms, conditions and administration
     including work conducted by the TP A of this Agreement. The Parties and their counsel further
     agree to cooperate in filing of a Joint Motion For a Show Cause Order why every Wolf Plaintiff
     should not have his/her claims dismissed for failure to prosecute unless he/she contacts counsel,
     Paul Wolf, within 18 months of the issuance of the order announcing his/her intention to participate
     or not participate in this settlement. See Exhibit A (Joint Motion). Mr. Wolf and other Plaintiffs'
     counsel have previously informed the Court of their problems contacting many of their clients who
     have cases pending before the Court in MDL 1916. See DE 3235 (listing relevant docket entries
     by Plaintiffs' counsel). The effectiveness of this Agreement is contingent upon the entry of such
     an order (the ''Show Cause Order") as the only effective means to ensure a complete release of all
     Wolf Plaintiffs' claims.

        2. THIRD-PARTY ADMINISTRATOR

             The Parties hereby appoint Garretson, LLC as Third-Party Administrator ("TPA"). The
     qualifications of Garretson, LLC and its founder Matthew L. Garretson are set forth in Exhibit B
     (Declaration of Matthew L. Garretson, Esq. filed as DE 2773-2 on May 9, 2024 in In re: Philips
     Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Ventilator Products Liability
     Litigation, MDL No. 3014, Western District of Pennsylvania, Misc. No. 21-01230 where Mr.
     Garretson was later appointed a Special Master, see id. at DE 2779). The TPA has the largest
     presence in Latin America of any third-party claims administrator. The TPA shall have authority
     to receive, review and evaluate the Claimant documentation discussed in Section 3 below. The
     TPA shall have authority to determine any deficiency based upon its review of the documentation

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     including the sufficiency of the release(s) by each Claimant and any other Wolf    Plai1~ ~
     sought to recover from the death of the Claimant's decedent. The TPA shall finally determ~~~l ~
     decide whether the Claimant has submitted the proper documentation to receive a Tier 1 or Tier 2
     payment per Section 3 below. The TPA shall administer the settlement funds in escrow. The TPA
     shall disburse a Tier 1 or Tier 2 payment to a Claimant who the TPA has determined in its sole
     discretion has submitted the necessary documentation pursuant to Section 3 below. The TPA's
     determination shall be final unless the Claimant makes a request for reconsideration within five
     working days. The determination shall be reconsidered by the TPA within 15 working days. The
     TPA may affirm or modify its prior decision as to the submitted documentation. The determination
     of such request for reconsideration will be final and not subject to any further appeal.

            The TPA in consultation with the Parties shall establish the necessary escrow account in
     accordance with this Agreement to facilitate the prompt payment of claims with the necessary
     documentation under Section 3 below and disposition of the Unclaimed Funds. The TPA shall use
     bilingual (Spanish and English) staff in performing its duties hereunder. The TPA shall have such
     additional authority as it decides is reasonably necessary to implement the terms of this Agreement.

             The TPA retains authority to implement measures it deems necessary to prevent and protect
     against fraud i~cluding to identify and reject fraudulent claims for Tier 1 or Tier 2 awards pursuant
     to Section 3. The TPA shall make quarterly reports to the Parties including but not limited to an
     accounting of each disbursement from the settlement fund, the total number of claims paid, the
     total number of claims remaining, and the remaining balance of the settlement fund.

        3. CONSIDERATION TO PLAINTIFFS

            Settlement Fund

              Chiquita shall pay $12,800,000 to the escrow account to be administered by the TPA in
     full settlement of the Actions (the "'Settlement Fund") within five (5) business days of the Court's
     issuance of the Show Cause Order. Within that same period, Chiquita shall also pay $50,000 to
     Paul Wolf to set up an office and support staff to implement the terms of this Agreement. Chiquita
     shall separately pay the costs of the TPA which is not part of the Settlement Fund.

             Pursuant to contracts with each Wolf Plaintiff, Plaintiffs' counsel Paul David Wolf shall
     receive at attorney fees thirty-three percent (33%) of the total recovery of $12,800,000 for a total
     of $4,224,000. The TPA shall pay such attorney fees on the following schedule: One-half (50%)
     within one business day of the deposit into the escrow fund of the $12,800,000 by Chiquita, one
     quarter (25%) upon the payment of the 750th claim hereunder, and one quarter (25%) at the end
     of eighteen (18) months, upon the dismissal with prejudice for failure to prosecute of any Wolf
     Plaintiffs who do not appear to file their documentation.

            Payments to Paul Wolf on behalf of the Wolf Plaintiffs of the remainder of the Settlement
     Fund ($8,576,000) shall be made via two tiers as follows:

             Tier 1 consists of each Wolf Plaintiff who is acting as the representative of the estate of
     his/her decedent (the "Claimant")-who shall distribute their portion of the settlement to the other


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     Wolf Plaintiff heirs as required by Colombian law-who provides the following documentation
     with an apostille of authenticity pursuant to Colombian law:

            (a) a death certificate for that plaintiffs' decedent named in the Actions during the period
     of 1997-2004;

            (b) the cedula of the Wolf Plaintiff seeking participation in the settlement;

            (c) proof of relationship to the decedent (e.g., birth certificate, baptismal certificate,
     marriage license, death certificate or other next of kin official determination);

             (d) evidence of AUC responsibility for the decedent's death in the form of Colombian
     government documents from agencies, including the Fiscalia, Justicia y Paz, Unidad para la
     Atenci6n y Reparaci6n Integral a las Victimas (Victims' Unit, formerly Accion Social) showing a
     confession by the actual AUC perpetrator, sworn testimony/affidavit from an eyewitness who can
     identify the perpetrator as a member of the AUC, confession or conviction of an AUC Commander
     who can identify the actual AUC perpetrator, an AUC Commander accepted responsibility for the
     murder, or that the Victims' Unit recognized the decedent as a victim of the AUC including paying
     them compensation for the murder. These criteria are for settlement purposes only and in an effort
     to compromise _and settle all Wolf Plaintiff claims. Chiquita expressly does not agree that all of
     the criteria mentioned above are sufficient to establish AUC involvement in a death in a legal
     proceeding. Each of the above documents must include an Apostille upon submittal to Paul Wolf
     and then review by the TPA.

     The Claimant must submit this documentation to Paul Wolf, who shall review it and assist with
     correcting any deficiencies and obtain a signed Release of Claims in the form of Exhibit C from
     all Wolf Plaintiffs claiming for the death of the relevant decedent, before forwarding on the
     documentation to the TPA for final review and approval as set forth in Section 2 above. When
     accepted by the TPA, the TPA shall issue or cause to be issued payment in the amount of a full
     share ($3,404.35) to Paul Wolf for payment to the Claimant. The specific mechanics of this
     payment procedure shall be as the Parties and TPA mutually agree by separate writing.

             Tier 2 consists of each Claimant who is unable to provide proof of governmental attestation
     (item (4) above) of the death to the AUC or for a death occurring outside the 1997-2004 window
     or for a claim based upon a death attributable to the FARC (including but not limited to all the
     Wolf Plaintiffs in Does 1-254, S.D. Fla. No. 1: l 1-cv-80405-KAM), which shall be in the amount
     of 40% of a full share or $1,327.74.

             The Parties recognize that there may be funds remaining in the escrow account due to Tier
     2 shares or Plaintiffs who do not appear within the 18 months disbursement window ("Unclaimed
     Funds"). The Parties that the Unclaimed Funds shall be spent on good works within the Plaintiffs'
     community, Apartad6, Colombia. When the amount of Unclaimed Funds is set after the passage
     of 18 months and the dismissal with prejudice of all Plaintiffs who do not appear, the Parties agree
     to negotiate in good faith and cooperate with the TPA to use the Unclaimed Funds to build a school
     or a hospital or similar project to benefit the entire Apartad6, Colombia community.

        4. GOVERNING LAW

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             All questions with respect to the construction of this Settlement Agreement and the rights
     and liabilities of the Parties shall be governed by the laws of the State of Florida, without giving
     effect to its law of conflict of laws.
             The Court shall have continuing and sole jurisdiction to resolve any dispute that may arise
     regarding the terms, conditions and implementation of this Agreement including without limitation
     the performance of the TPA. The Parties and TPA hereby consent to such exclusive jurisdiction.


        5. NO ADMISSION OF WRONGDOING AND NONDISPARAGMENT

             This Agreement is made to terminate any and all controversies, real or potential, asserted
     or unasserted, and claims for injuries or damages or any nature whatsoever, real or potential,
     asserted or unasserted, between Chiquita and the Wolf Plaintiffs. Neither the execution and
     delivery of this Agreement nor compliance with its terms shall constitute an admission of any fault
     or liability on the part of Chiquita. Chiquita in no way admits fault or liability of any sort and, in
     fact, Chiquita expressly denies fault and liability. The Parties agree not to disparage one other and
     not make any public statement inconsistent with this Agreement.

        6. CONFIDENTIALITY

             The TPA shall keep all documentation submitted by a Claimant confidential and shall not
     disclose such documents or information contained therein with Chiquita or any other person or
     entity, except upon prior written approval of Wolf Plaintiffs' counsel, Paul Wolf, unless required
     to be disclosed by subpoena, governmental authority, court order, or applicable law.

        7. ENTIRE AGREEMENT

              This Agreement represents the entire agreement between the Parties with respect to the
     subject matter hereof and supersedes all prior contemporaneous oral and written agreements and
     discussions. Each of the Parties covenants that he, she or it has not entered into this Agreement as
     a result of any representation, agreement, inducement, or coercion, except to the extent specifically
     provided herein. Each Party further covenants that the consideration recited herein is the only
     consideration for entering into this Settlement Agreement and that no promises or representations
     of another or further consideration have been made.

        8. EXECUTION AND AMENDMENT OF AGREEMENT

             The Parties agree to sign two copies of this Agreement and that each copy so executed with
     ink signatures shall constitute and be considered an original of this Agreement. The-TPA shall be
     given an exact copy of either original and may rely upon that exact copy in performing its duties
     and exercising its discretion as provided herein.

           This Agreement may not be amended or altered except upon a writing signed by Paul Wolf
     and Thomas H. Stewart or other Blank Rome attorney representing Chiquita.




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      Dated June 18, 2024




                                                           Michael L. Cioffi
       Attorney for Plai tiffs                             Thomas H. Stewart
       P.O. Box 60584                                      Blank Rome LLP
       Colorad9 Springs, CO 80960                          1700 PNC Center
       (202) 431-6986                                      201 East Fifth Street
       paulwolf@yahoo.com                                  Cincinnati, OH 45202
                                                           (513) 362-870 l/04
       Attorney for Wolf Plaintiffs                        michael.cioffi@ blankrome.com
                                                           tom.stewart@blankrome.com

                                                           Attorneys for Chiquita


                                      Garretson, LLC
                                      P.O. Box 2806
                                      Park City, Utah 84060




                                      Printed name: Matthew L. Garretson

                                      Third-Party Administrator




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